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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA          )
                                  )
    v.                            )      CRIMINAL ACTION NO.
                                  )        2:94cr62-T
TERRY MITCHELL                    )            (WO)

                                ORDER

    It is ORDERED that defendant Terry Mitchell’s motion

for reconsideration and clarification (Doc. No. 1868) is

denied.

    DONE, this the 3rd day of November, 2005.



                             /s/ Myron H. Thompson
                          UNITED STATES DISTRICT JUDGE
